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                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION
 DARRYL SWINT,                             )
                                           )
       Plaintiff,                          )
                                           )
 v.                                        ) Case No.2:19-cv-02034-AMM-GMB
                                           )
 JUDICIAL F3d ACT,                         )
                                           )
       Respondent.                         )

                           MEMORANDUM OPINION
      On May 13, 2020, the magistrate judge entered a report (Doc. 3)

recommending the petition for writ of habeas corpus (Doc. 1) be dismissed without

prejudice for failure to prosecute. (See Doc. 3 at 2).

      After careful consideration of the record in this case and the magistrate judge’s

report, the court hereby ADOPTS the report of the magistrate judge and ACCEPTS

his recommendation. In accordance with the recommendation, the court finds that

the petition for habeas corpus is due to be dismissed without prejudice.

      A separate order will be entered.

      DONE and ORDERED this 30th day of June, 2020.



                                     _________________________________
                                     ANNA M. MANASCO
                                     UNITED STATES DISTRICT JUDGE
